                    Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 1 of 23

                                                                               e pennsylvania
DAUPHIN CAO
2432 N 7TH STREET
POBOX5959
HARRISBURG, PA 17110-0959


                                                                                 •      ., DEPARTMENT OF HUMAN SERVICES
                                                                                 OFFICE OF INCOME MAINTENANCE
                                                                                                         I
                                                                                     Notice ID: 9093560114 C:25884
        Chalmers Simpson
        636 Curtin St Fl 1
        Harrisburg, PA 17110-2424

                                                          Mail Date: 10/02/2020               COMPASS: The fast and easy
                                                          Record ID: 22/0385325               way to apply for benefits
                                                               MCI#: 002611392                www.compass.state.pa.us




The Department of Human Services (OHS) is writing to you about your Medical Assistance (MA)and
Supplemental Nutrition Assistance Program (SNAP) benefits.


  a
!--=c::~;__-- - ----·-----·--·-.----
 Chalmers
           Medical Assistance (MA)
                                                   · - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 4"<1
                                               You qualify for Medical Assistance effective 10/01/2020.

                                               You qualify for the state to begin paying your Medicare Part B premium
                                               (Buy-In) effective 10/01/2020.

                                                If you do not agree with this decision, fill out the enclosed Fair Hearing form
                                                and mail or give it to your caseworker. It must be postmarked or received on
                                                                                                                                I
                                                                                                                                1
                                              , or before November 01 . 2020.                                                   i
~ -----·      --     -·-·--- ------- ____ _c __________________ - - - · - - - · - ---·-----------
 Chalmers:
 For the period you qualify, we determined your countable income is $851 .00 each month after allowable deductions and/or
 expenses.

 As part of your MA benefits. we will pay your Medicare Part B premium starting with the first month that you qualify. If you
 already paid premiums for some of the months that you qualify, you will get a refund from Social Security. Within three
 months, you should receive one refund for the entire amount. If you do not get the refund within three months, contact
 Social Security.

 You may also be eligible for a refund of the Part B premiums that were taken out of your Social Security check for up to
 three months before you applied for MA. If OHS has not approved you for Medicare Buy-In for the three months before
 you applied, you can appeal.

 This is the law we used to make this decision: 55 Pa. Code§§ 140.221 , 181 .1, 255.4

 Your benefits will stay the same until there is a change in your case.

 Because you are eligible for Medicaid, you should immediately end your federal premium tax credits or cost-sharing
 reductions if you are enrolled in a plan through the Federal Health Insurance Marketplace and you get help paying for
 coverage. If you still want a Marketplace plan while eligible for Medicaid , you will have to pay full price for your
 Marketplace plan, without premium tax credits or other cost sharing reductions.
                                                                                                    (continued on next page)




 RC/0: 980/B, 012
                                                                                          909356011430000109
 Record ID: 22/0385325                 Mail Date: 10/02/2020          Page 1 of 18                        PA162
                                                                                              23 ID: 9093560114
                                 Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 2 ofNotice
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         t Fair Hearing Form                                               ·.
                                                                            '       .
                                                                                            : ·

  1. Name: Chalmers Simpson                                                                     Record ID: 22/0385325
     Phone number:                    717-317-4587                                              Address:              636 Curtin St Fl 1
                                                                                                                      Harrisburg, PA 17110-2424
  2. Tell us which program you want to appeal:
     •          Medical Assistance (MA} - You must mail or give the form to the CAO before 11/01/2020.
               D  MA (Expedited Appeal): Check one of the following reasons for requesting an expedited Fair Hearing
                  and provide details in the line next to the box you check below. An expedited Fair Hearing may be
                  granted when it's determined that the normal time for review of an appeal would jeopardize your:
                        •
                     Life: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                        • Health:                                                  , or
                                   ----------------------------
                        D Ability to attain, maintain, or regain maximum function:
                1f you have medical documentation of your urgent health needs, please submit them with this fair
                                                                                                                                   --------------
                hearing request.
     D          SNAP • You must mail, call or give the form to the CAO before 12/31/2020. (for those applying for SNAP)
  3. Tell us why you disagree with this decision (use back of page if necessary}:


  4. Do you want your SNAP benefits to continue at the same amount pending the hearing
     decision?
     D        Yes                 D   No
  5. Choose the way you want your hearing:
     •  By telephone. at the phone number you write on this fonn. Make sure we can reach you at
        this phone number. The judge will call you, your witnesses, anyone helping you, and the CAO.
     D By telephone,.atthe CAO. You will go to the.CAO for your-nearing. The judge wiJI call you
        there in the office, and call anyone helping you.
     D Face-to-face, with you and the people you bring in the hearing room with a judge and CAO
        staff on the phone. You must travel to the assigned Bureau of Hearings and Appeals office for
        a face-to-face hearing. The location will be assigned to you based on where you live.
     D Face-to-face, with you and the people you bring in the hearing room with a judge and CAO
        staff in the hearing room. You must travel to the assigned Bureau of Hearings and Appeals
        office for a face-to-face hearing. The location will be assigned to you based on where you live.
  You can ask for an interpreter to be at the fair hearing, or other assistance because of an impairment
  or other disability. This is a free service.
  6a. Do you need a free interpreter? You may bring a friend or relative to help you at the hearing, but
      the department will provide the official interpreter.
      D Yes      D No lfyes,whatlanguage: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  6b. If you will need help at the appeal because of a hearing impairment or other disability, please
      tell us how we can help you: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   7. Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                           8.Date: _ _ _ _ _ _ _ _ __
  9. Phone number (where you wish to be contacted): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




RC/0: 980/B, 012



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                                                                                                                                             909356011430000609
Record ID: 22/0385325                                             Mail Date: 10/02/202Q                                Page 11 of 18                PA/FS 162F 4118   ~
                 Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 3 of 23


BENEFICIARY'S NAME: CHALMERS A SIMPSON JR
Your Social Security benefit will increase by 1.3% in 2021 because of a rise in the cost of
living. You can use this letter as proof of your benefit amount if you need to apply for food,
rent, or energy assistance. You can also use it to apply for bank loans or for other business.
Keep this letter with your important financial records.
 How Much You Will Get
 Your monthly benefit before deductions      -•----~-                                  $887 .00
 Deductions:
 Medicare Medical Insurance (Ifyou did not have M~care as-of November 19,              · $0.00
 2020 or if someone else _pays youipremium, we show $0.00)
 Medicare Prescription Drug Plan (We will notify you if the amount changes in             $0.00
 2021. If you did not elect withholding as of November 1, 2020, we show $0.00)
 U.S. Feder,al tax-withholding                                                            $0.00

 Voluntary Federal tax withholding (If you did not elect voluntary tax                    $0.00
 withholding as of November 19, 2020, we show $0.00)

 After we take any other deductions, you will receive                                  $887.00
 the payment you are due for December 2020 on or about December 31, 2020.

The information above shows your monthly benefit amount before and after deductions.
Please remember, we will pay you in the month following the month for which it is due.

The Treasury Department requires Federal benefit payments to be made electronically.
If you still receive a paper check, please visit the Department of the Treasury's Go Direct
website at www.godirect.org or call their Electronic Payment Solution Center at
1-800-333-1795. If outside the United States, please call 1-214-254-3113.

If you disagree with any of these amounts, you must write to us within 60 days from
the date you receive this letter. The fastest and easiest way to file an appeal is to visit
www.ssa.gov/benefitsldisability/appeaLhtml online.


If You Have Questions
• Visit us at www.ssa.gov online.
• Call us toll-free at 1-800-772-1213 (TTY 1-800-325-0778). ·
• Contact your nearest Social Security office .


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                       ..
                                     SUITE 810
                                     555 WALNUT STREET
                                     HARRISBURG PA 17101
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                                                                                      1. HANG UP!
         Scammers are pretending to be government
         employees. They may threaten you and may                                     2. DO NOT GIVE THEM MONEY OR
                                                                                         PERSONAL INFORMATION!
        demand immediate payment to avoid arrest or




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                              1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 5 of 23
                                                                              Checking Account
                                                                                       1-888-910-4100
                 P.O. Box 7000
                 Providence, RI 02940      a                                  StatementCall Citizens' PhoneBank anytime for
                                                                                       account information, cummt rates and
                                                                                       answers to your questions.

                                                                                                                                        0      OF   2

                                                                                                                                        Beginning November 26, 2020
                                                                                                                                        through December 08, 2020
         AB 01 003413 45514 B 11 A
         ,,,,,.,,,,,,111,,11,11,,1,,,,,,,,1,1,1,1,,11,,11,11,,.,,,,,11,,,1
         CHALMERS ALIXANDER SIMPSON JR
         501 MACLAY ST APT 9
         HARRISBURG PA 17110-2354




  Checking                                                                                                                              USOlO
  SUMMARY                                                                                                                               CHALMERS ALIXANDER SIMPSON JR

  Balance Calculation                                                                                                                   One Deposit Checking
                                                                                                                                        XXXXXXX704-4
  Previous Balance                                        19 . 74
  Checks                                                     .00 -
  Withdrawals & Debits                                    19.74 -
  Deposits & Credits                                         .00 +
  Current Balance                                            .00 =
  The $9.99 monthly maintenance fee is waived when you make at least 1 deposit that is posted
  before the end of your statement period.
     No deposit made.
  Your next statement period will end on January 27, 2021.


  TRANSACTION DETAILS                                                                                                                                                 19.74
  Withdrawals & Debits
  Other Withdrawals & Debits
  Date                    Amount     Description
  12/07                    19. 74    Debit Memo
                                     Closed-F
                                                                                                                      _ ___ _ -0---T_ui_ta_lw_tth_dra_w_als_&_.o_e_bl_ts
                                                                                                                                                                   1Q .74

                                                                                        Total For                    Total
                                                                                       This Period             Vear-To-Date
    Total Overdraft Fees                                                                         .oo                          90.00
    Total Returned Item Fees                                                                     .oo                          35.00


                                                                                                                                        0- ~ - - - - -.00
                                                                                                                                                           Current Balance

  Daily Balance
  Date                        Balance              Date                      Balance                                          Balance
  12/07                             .00

   I NEWS FROM CITIZENS
   --Transferring money online just 9.ot a little easier! Discover the speed and convenience
   of onllne money transfers now with no fee! To Learn more visit cttizensban1<.com- you can
   also view helpful online banking demos and links to download our mo.bile banking app.

Member FDIC~ Equal Housing Lender
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                           Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 6 of 23


                                                                                                                             RETlJRNCHECK:ROTICE
                   www.dnw.pa.gov                                                                                                          03/03/20
                                                                                                         IlSI REPLY REFER TO:
                                                                                                                      RETURN CHECK SECTION
                                                                                                                      INFORMATION     (8:00 AM TO 5:00 PM}
                                                                                                                      PEl\DlSYLVANIA                                               717-412-5300
                                                                                                                      OUT OF STATE                                                 717-412-5300
                                                                                                                      TTY                                                                   711

                                                                                                                      CASE NUMBER: 2002184

        TH:di' DEPA-R.'l'MENT--3:-S - Bi-RECE:tjN- -OF- CHECK (.S) WIU._TTQ.J3:Y __YOU AND .R E ~
        BY YOUR BANK AS UNCOLLECTIBLE FOR THE REASON LIS'l'ED BELOW:                        ~ - .
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                           REASON: APPEAL P.ElilbDIG
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                           ACCT NO:                                                        !
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                           CHECK NO:                                                       l        100
                           FACE AMT:                                                       I $1,111.20
                           PENAL'l'Y:                                                      \        140.00
                                                                                           l
                           CREDIT TO DATE:
                           TOTAL AMT DUE:                                                  l        951.20
                                                                                                   $300.00

                                                                                           I
       TO SETTLE THIS ACCOUNT YOU:HUST REMIT A CERTIFIED CHECK OR MONEY ORDER
       IN U.S. DOLLARS MADE PAYABLE TO TBE COMMONWEALTH OF PENNSYLVAN1.A FOR THE
       AMOUNT DUE. 'FAILURE TO RESPOND WITHIN 30 DAYS- WILL RESULT Illl A SUSPENSI ON
       BEING PLACED ON YOUR DRIVERS LICENSE OR VEHICLE REGISTRATION. PLEASE RETURN
       THIS NOTICE WITH YOUR PA"YMEm'r TO:                                                     i



                          ~UREAU OF MOTOR VEHICLES
                           ACCOlJNTiliJG SER.VICES
                           RETURN CHECK UNIT ,
                           HARRISBURG, PA 17106-8610
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       DT OF CR 01/11/20
       DT OF DEP 02/05/ 20 •• 0V
       04/23/21 PAYMENT 27145465863 FROM 04/13/21 WAS RECEIVED. AND APPLIED
       21113 3319 004060 001                     82500                                                 100.00                          04/23/21
       CASE HAS BEEN REFERRED~ PLEASE MAIL ANY FURTHER CORRESPONDENCE TO THE
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                   Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 7 of 23

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                    PAY EXACTLY .. ~ ~              - AND NO ~S, . .   .
                    ~~PPL DT°ILITIES          co NO 27010 7807
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                 PO BOX 5533 HARRI'SBffim'i"orpN 17110 CHALMER_-:__S_A_S=I=MP=S--O;;;;;Nr,_J_R-==    . _ _ . . . . . .lWa:




           g;                         l\10NE Y ORDER RECE ,PT - NOi\i NEGOT l ~BL..E
           ILi
           9 PPL UTILITIES CO NO 27010-7807
           CJ)

           ~                You ,:an now use cash to pay for Millions of AMazon.cOM im,1ducts
           ~                A1azon PayCcide at participating tkstern Unionr Agent locations.
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                             PAY FOR $'10, .QO
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CHAI.MERs A SIMPSON
P.OBOX
5533                                                                                 PPL ELECTRIC UTILITIES
HARRISBURG, PA 17110                                                              . 2 NORTH 9TH STREET CPC-GENN1
                                                                                    ALLENTOWN, PA 18101-1175
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                                                r1ii\ Questions? Please
                                                                                                                                                                                                       Page 1
                              account online at \.ll contact us by Dec 21.
                                             pplelectrlc.com                                                 1-800-DIAL-PPL
                                                                                                             (1-800-342-5775)
                                                                                                        Mon-Fri: 8am to 6pm

Your Electric Usa e Profile                                                                                                                    Details
Service to:
CHALMERS A SIMPSON
636 CURTIN ST
HARRISBlJ_RG, PA 17110                                                                                                                                                                                    $56.00
Meter: 301537520
Your next meter reading Is on or about Dec 29, 2020.                                                                                                                                                  $113.00

This section helps you understand your electric use by                                                             mount Due 8 Dec 21, 2020                                                           $113.00
month. Meter readings are actual unless otherwise
noted.
This graph shows the average number of kWh you used
each day. You used 1089 kWh In 29 days, or an average                                                             How To Shop For Electricity
of 37 kWh a day.                                                                                                  You can choose the company that supplies your electricity,
The average daily temperature for your area last month                                                            Visit papowerswitch,com or www.oca.state.pa.us for supplier offers.
was 49F.                                                                                                          lf you_are shopplng,_knQw your coJ1tract explratlQn date.
               •   2020                                                                                           Here's the lnformatlon you need to shop:
     42                                                                                                           Bill Account Number: 27010-1$071 Rate Schedule! RS {Residential)
     35
                                                                                                                  Current Sui,pller: PPL Electric Utilities
      28                                                                                               --
                                                                                                                  PPL Electric Utilities price to compare for your rate is $0.07284 per kWh.
     21                                                                                                           This changes the 1st of June and December.                                          . .
      14
       7                                                                                                          General Information
       0                                                                                                            • Actual Charges for o kV ··          "' 4 ::11 li2
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                                                                                                                      • OnTrack makes your b'
                                         Months                                                                         difference between y(r-,..........w ,
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                                                                                                                      • $5 of your OnTrack p
                                                                                                                        each month,
                                                                                                                      • You are not making
                          kWh BIiied                                      1089                                          includes a catch-up
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                                                                                 UGI Utilities, Inc.
                                                                                 225 Morgantown Road
                                                                                 Post Office Box 13009
   Energy to do more-                                                            Reading, PA 19612-3009




May22,2021



Chalmers Simpson
POBox5533
Harrisburg, PA 17110-0533


Customer Number: 411001073849
Dear Chalmers Simpson,
Your CAP recertification is due within 30 days. This process will confirm your continued elig1oility to
remain on the program. The CAP recertification process includes providing household occupant
information, current proof of income for all household members and a valid photo identification.

For your convenience, UGI has enclosed a recertification application. Please mail the completed
application and your supporting documents to Harrisburg Salvation Anny at 506 S 29th St Harrisburg,
PA 17104. If you need assistance in completing this application, please call (717)233-6755.

Failure to recertify and verify your current income within 30 days may result in removal from program.

If you have any questions about your CAP bill, please call UGI at l-800-276-2722.

We look forward to your continued participation in CAP.

Sincerely,

UGI Customer Outreach Department
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                                               BILL No 411 ooraiJB49 PAYfl 8-ff FOR/ACCT••
                                oRDERoF uG~ UTILITY

                        PO BOX 5533 HARR1lSBmt'G"f 0 FJ!i 17110 CHALMERS A SIMPSON, JR
                                                                                                                                          -      ..~ = = :...- - ™


                                                                MONEY ORDER RECEIPT - NON NEGOTIABLE


                                         UTILITY BILL NO 411001073849
                                            You can now use cash to pay for ~illions of Aftazon.cOft PJ'OQUcts
                                            ANazon Pa)'C(xte at participating Western Unionr Agent locations.
                                            Find out rt0re at wu.co,,i/artazon
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                                                                                                                                                            Please pay by the due date
                                                           UGI Utilities, Inc.                                   Account Number                             to avoid the late charge.
                                                           PO Box 15503                                                                                     Please return this portion
                                                           Wilmington, DE 19886-5503                              411001073849
Energy to do more•                                                                                                                                          with your payment.



                                                                                                                                                                       May 27, 2021
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CHALMERS SIMPSON JR                                                                                                                                                    $13.97
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                                                          411 • 01073849 • 1 • 0 •••                            001397000000013979
Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 11 of 23




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                 find out More at wi.1 . col'llaMaz•:.11
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                   Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 12 of 23
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                        Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 13 of 23

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                     PO BOX 5 5 3 3 HARll!PSBt:1RG\} J!~ 1 711 0 CHALMERS A SIMPSON, JR
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                                  REGION WATER NO 10017013-0

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         NAME                                                                                         Please make checks payable to: Capital Region Water
                                   ALAN 1NVESTMENrs DI LLC
SERVJCE-ADDRESS        · .}
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         ~t~R~YHlt.LRD                                            1 . .•                               Capital Region Water
        COLUMB1ASC29210                    ~                       /                                  PO Box 826429
                                                                                                      Philadelphia, PA 19182-6429

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                           Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 14 of 23



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                                          ~gJ/,'Jl,'• TRASH BILL CITY OF HARRISBURG NO i,oo                                      ~            O ( 3)
                                  C!!ALMERs A SIJIHI§ '!lf' ".h!"'lffl''Box 5633 HARRISBURG, PA 17110
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                                                cash to your
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ITTIE CITY OF HARRlsBURG
  MONTHLY UTILITY BILLING
 PAST DUE CHARGES ARE DUE IMMEDIATELY.
   ACCOONT ~BR
 10017013-0000(3)                                   BILL DA.TE

   PROPERTY AilDRBss
 636 CURTIN ST
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ALAN INVESTMENTS III LLC                                                                          AMOUNT PAID: $ Sb~t)O
16 BERRYHILL RD STE 2 00
COLUMBIA SC                 29210-6433

                             . ..
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                          Case 1:21-cv-01205-SHR       Document
                                        FIRST JUDICIAL DISTRICT    2-1 Filed 07/08/21 Page 15 of 23
                                                                OF PENNSYLVANIA
                                                   PHILADELPHIA MUNICIPAL COURT
                                                          TRAFFIC DIVISION
                                                     800 SPRING GARDEN STREET
                                                           P.O. BOX 56301
 PATRICK F. DUGAN                              PHILADELPHIA, PENNSYLVANIA 19130-6301                                                 GARY S. GlAZER
 PRESIDENT JUDGE                                                  (855) 868-1675                                                  ADMINISTRATIVE JUDGE
                                                 HTTP://WWW.PHILACOURTS.US/TRAFFIC

     11111111111
      * F O 4 8 6 6 2 6 0 *
       SIMPSON CHALMERS, ALIXANDER
       PO BOX5533                                                                                                                      05/11/2021
       HARRISBURG PA 17110-0533


                                  INSTJXlLMENT PAYMENJ ORDER REMINDER


                                                                                                           --     -.,                                - =,
                                Account lhformatiorr                                                        -     Balance Summary~
    Plan #         Statement           Payment             # of            Minimum                       Original       Less      Remaining
                      Date             Due Date          Citations         Payment                     Balance Due    Payments   Balance Due
                                                         Enrolled            Due                                        Made
  901139230        05/11/2021           05/25/21             11              $10.00                      $3,827.50      $410.00    $3,417.50

 Failure to remit payment by the specified due date listed above will place you in DEFAULT. If this occurs, the following
 sanctions may go into effect:
     • A WARRANT will be issued for your arrest, and a warrant cost will be added to your account.
     • An additional fee of $25.00 may be added to each citation on the plan.
     • Your driver's license will be SUSPENDED.
     • Any vehicle you own may be subject to IMMEDIATE IMPOUNDMENT by the Philadelphia Police Department or
          the Philadelphia Parking Authority.
     • If your vehicle becomes eligible for impoundment, a $75.00 fee will be added to your account.

                                                             PAYMENT INSTRUCTIONS:
                      ✓    PAY BY INTERNET: Pay on the web at HTTP://WWW.PHILACOURTS.US/TRAFFIC
                      ✓    PAV BY PHONE: Pay via interactive voice response system at (855} 868-1675
                      ✓    PAY IN PERSON: Pay in person at the Philadelphia Municipal Court, Traffic Division, Monday through Friday,
                           from 8:30 a.m to 6:30 p.m. Payment methods accepted include cash, check, money order, Visa, and
                           Mastercard.
                      ✓    PAY BY MAIL: Make check or money order payable to Philadelphia Municipal court, Traffic Division. Please be
                           sure to include citation number(s) or payment plan number. Mail checlc to P.O. Box 56301, Philadelphia, PA
                           19130-6301.

 --------------------------------------------------------------------
 If paying by mail, detach and mail this DO;~KAlldt)~m ·a Municipal Court, Traffic Division
 check or money order to:                                                                                                   P.O. Box 56301
                                   {) ll\_                                                                      iladelphia, PA 19130-6301
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  Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 16 of 23

   ;;;;;:if§ UNITED ST.4TES
  ~ POST.4L SERVICE•

 SEE BACK OF THIS RECEIPT
   FOR IMPORTANT a.AIM           PaJtocOMCAST XFINITY NO 8993 11 091 14 77:~r~~R
       INFORMATION
                                 AdchssPO BOX 7 0 21 9                   YOUR RECORDS
          NOT
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PaJtoCOMCAST                                                                                                                 51
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                                                                                  SIMPSON, JR
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                      Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 17 of 23
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                            PO BOX 5533
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                      DETACH AND RETURN nns PORTION wrm YOUR PAYMENr
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    Balance Due:         s294. 28
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    If the name or addre~ shown below i ·
    please correct                        g.1·
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                                                      '::IL                UC Service Center.:
                                                                           Minimum Payment:
                                                                                                                       0993

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         CA SIMPSON                              b                         Payment Enclosed:       ·                       ~/
         PO BOX 5533
         HARRISBURG, PA                  17110-2354                        Payment Made By: D Check ~ Money Order
                                                                           (lndudc your Social Se.curity number on your check or money order.)

     Mail payment to: Office of UC Benefits. ATIN: UI Payment Services, P.O Box 67503, Harrisburg. PA 171
                            PLEASE SEE THE BACK OF TIDS FORM FOR ADDIDONAL INFORMATION.



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    UC-325(UC-3) REV 01/17 (Page 1)
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                  Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 18 of 23


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                PAY EXACTLY    FIVE_DOU.ARS ~.D NO ~ TS
                                                 ACC NO 002923-001
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             Po Box 5533 lIAI{Rrsnoie;".!;PPA 1111 o caAI,MERs.2.,1.a'i~.1-i!.R™




                                  MONEY OR[)f=R RFCEIPT          NON NEGOTI/\BLE



                            HARRISBURG/BURGLARY/FIRE/ALARM NO 002923=001
                            Use cash to pay for Millions of Aftazon.cQH Pl;<)ducts with tv.azon
                            participating Western Unionr ~~t loc~t1onsF, . ondr ~ ~~ ~ ~~
                            with Aftazon cash, then shop on nnazon ....o;i. 1    _
                            AGT 247033 LOC 000000 DT 060121 $5.00 500U.ARS AND NO Cf.HTS




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                                                                                               ACCOUNT:002923-001



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City of Harrisburg - Burglar/Fire Alarm Billing                                      MAKECHEcKPAYABLETo:CJTYTREAsuRER

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PHONE NUMBER: 255-6513
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                                                        MAIL PAYMENT TO: 10 N. 2"" Street- Suite 103, Harrisburg, PA 17101
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                                      ACCOUNT#:      Q 0 2 9 2 3 _ 0 Q1 DESCRIPTION
                                                                                                                   AMOUNT

                                              PAST DOE CHARGES (DUE IMMEDIATELY)                            210.00
                   Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 19 of 23



                              ~ 247033 D 060121
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  lJ   I.I.I
   i ~ SIMPSON




       ·~ -------- - ----------
Responsible Participant Chalmers Allxander Simpson Jr.

 Docket Number: CP-22-SA-0000141-2016                         Short Caption: Comm. v. Simpson, Chalmers Alixander
                                                              Jr.
Total Amount Owed by Responsible Participant on this case:                    6 .3 .      Fo ~ $16.97
 Docket Number: CP-22-SA-0000142-2016                         Short Ca Hon:   omm. v. Simpson, C ~ x a n d e r


Total Amount Owed by Responsible Participant on this case:    .J-"pA)' ,,.;f~-1 fw <@;)                      $01.so

 Docket Number: CP-22-SA-0000259-2017                         Short Caption: Comm. v. Simpson, Chalmers Alixander
                                                              Jr.
Total Amount Owed by Responsible Participant on this case:
                                                                    ~yo/3.                                   $1.t.02


 Next Payment Due Date: 06/30/2021                           Next Payment Amount: 5.0Q

Total Amount Owed by Responsible Participant on all non-archived cases in this Coo                        $5,161.07

Payment Summary:
                Case
                 \~      1:21-cv-01205-SHR
                    • ;1 ,_
                         ~ ~ ,· • ..;      Document 2-1 Filed 07/08/21 Page 20 of 23
                                                                                        19-262831884
                                                 A 247033 D 060121
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                   PO BOX 5533            HARRr8BURG;"'-p-A 17110 CHALMERS A ......_.._,.,_
                                                                              SIMPSON JR
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                                 Western Unionr Agent location~. SitlPlY c~toF9~ ofto~~~~tw
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                                 AGT 247033 LOC 000000 DT 060121 $5.00 5DOLLARS AND NO CENTS




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Responsible Participant: Chalmers Alixander Simpson Jr.

                                                                   Short Caption: Comm. v. Simpson, Chalmers Alixander
  DOCKET NO CR-2098-2016 FOR$5,00                                  Jr.
Total Amount Owed by Responsible Participant on this case:                                                        $24.92

 Next Payment Due Date: 04/30/2021                                Next Payment Amount: 5.00

Total Amount Owed by Responsible Participant on all non-archived cases in this Court                           $5,204.27

Payment Summary:

 Total Payment Received:
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 Payments Less Change:                $                    5.00

Comments:                                                                                     fo
                                       RETAIN THIS RECEIPT FOR YOUR RECORDS
                       Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 21 of 23
                                                                                                                    RECEIPT
                                                                                 Receipt Number: 22-2021-R000023123
                                                                                  Recorded Date: -04/08/2021 01:39PM
                                                                                            Receipt Date: 04/08/2021
          ✓ ··--=-
     Payor:    Chalmers Alhcander Simpson Jr.                      Payable to:   Dauphin County Courthouse
                501 Maclay St Apt 9                                              Fines and Costs
                Harrisburg, PA 17110                                             101 Market Street
                                                                                 Harrisburg, PA 17101

     Payment Source: Mail

       Payment         Payment Method            Check/ Money Order          _ Ba_nk_"(~n~it       Vold      Payment Amount
       Date                                      Number                          Number

       04/08/2021      Money Order               19-249073271                                       No                   $10.00



     Responsible Participant: Chalmers Simpson


                                                                                                                  S-OQ
     Total Amount Owed by Responsible Participant on this case:
                                                                                                                -/OttOO
       DocketNumber...     CP-S~-22-259-2017 and                    Short Caption: Comm. v. Simpson, Chalmers Alixander
                           CP-SA-22-141/142-2016                    Jr.
     Total Amount Owed by Responsible Participant on this case:                                                            $19.92

       Next Payment Due Date: 0513112021                           Next Payment Amount: 5.00

     Total Amount Owed by Responsible Participant on all non-archived cases in this Court:                              $5,181.07

     Payment -Summar/:

       Total Payment Received:          $                  10.00

       Change Amount:                   $                   0.00

       Retained Unapplied Amount:       $                   0.00
       Payments Less Change:            $                  10.00

-- -- - Comments:_
                                        RETAIN THIS RECEIPT FOR YOUR RECORDS




      You can now make case payments online through Pennsylvania's Unified Judicial System web portal. Visit the portal at
      https:llujsportal.pacourts.uslepay to make a payment and learn more. Currently, Epay is available for Criminal and
      Summary Appeal docket types and tor partrc1pating counties, Mtscenaneous or Juvenne oennquency aocKet types .
                                                                                 ~ E                        FREE INTERPRETER
     CPCMS2128
     Printed: 04/0812021 t39:52PM                                        •   >)) =:111.1.;-.l   ._"fl www parourts.us/Janguage-rjghts
                            Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 22 of 23
                                                                             Account Number               I Billing Date             I Services From                                Page
                                                                        I
                                                                        {
                                                                             8993. 11 091 143n12          ! Jun 10, 2021
                                                                                                          I
                                                                                                                                     j Jun 15, 2021 to Jul 14, 2021
                                                                                                                                                                                I   1 of3




Hello Chalmers Simpson,
Thank you for choosing Xfinity from Comcast.




                                                                                            ~ Your bill explained

                                                                                                      • Your one-time charges are $25.00 due to Home:
 Previous balance                                                             $148.75                   Installment 5 of 24 and late Fee charge(s).
 Payments - thank you                             Page3                      -$100.00                 • This page gives you a quick summary of your monthly
 Balance forward due now                                                      $48.75                    bill. A detailed breakdown of your charges begins on
                                                                                                        page 3.
                                                                                                                                                                                            1-- - · - - -
 Regular monthly charges                          Page3                        $49.95                 • Any payments received or account activity after Jun 10,
 Installment & One-time charges
                                                                                                        2021 will show up on your next bill. View your most up-
                                                  Page3                        $25.00
                                                                                                        to-date account balance at xfinity.com/myaccount.
 Taxes, fees and other charges                    Page3                         $1.20

 New charges due Jul 03, 2021                                                 $76.15


 Amount due                                                            $124.90

0 Your account is past due
Your account is past due, so you may have been charged a late
fee. To keep your services, please pa',{ the balance forward now.
Thanks!
Need help?
Visit xfinity.com/customersupport or see page 2 for other ways
to contact us.




 Detach the bottom portion of this bill and enclose with your payment                               Please write your account number on your check or money order
                                                                                        -   -   -    - --          ·····- ········- ··-··- · - - -
 Do not include correspondence with payment

                                                                                                    Account number                                     899311 0911437712

 xJ1n1ty
 POBOX6505
                                                                                                    Balance forward due now
                                                                                                    New charges due Jul 03, 2021
                                                                                                                                                       $48.75
                                                                                                                                                       $76.15
 CHELMSFORD MA 01824
 99939900NO RP 1020210610NNNNNNNY0012511 0041                                                       Total amount due                                   $124.90
 CHALMERS SIMPSON
 0
   OBOX5533                                                                                         Amount enclosed                                     $
  lARRISBURG, PA 17110-0533
                               ✓   - .                                                                                                                 Make checks payable to Comcast
                                                                                                                                                       Do not send cash
    111 mll •Ihl 11 1•• •11 •n1h• 1111 h•• 11•1 111•111•• 11 •11•••• 11 ••                                    Send payment to
                                                                                                              COMCAST
                                                                                                              P.O. BOX 70219
                                                                                                              PHILADELPHIA PA 19176-0219

                                                                                                              ,,... ,1111• •I••··• •1• h11•lllh 1I·•1•111•1• 1•1 111 11 • 11•1••111•1 1•
  8~~11 • 911437712001249 • 9
                                    Case 1:21-cv-01205-SHR Document 2-1 Filed 07/08/21 Page 23 of 23

          PRODUCER TELEPHONE: 717-233-1160                                                                           0
                                                                                                                           INVOICE                                           7
           ACCEPTANCE INS AGY OF TN INC
           101 S 251H Sf STE 11-B
          HARRISBURG PA                     17104-2103
                                                                                                                  . . ~~ BRISTOL WEST.
                                                                                                                  . . . INSURANCE GROUP
                                                                                                          Underwritt~~JLbl'_
                                                                                                          BRISTOL WEST INSURANCE COMPANY
                                                                                                              Questions about your policy?
                                                                                                              Call Service Operations at 1-888-888-0080
                                                                                                              Please refer to the back of this form for payment options.
          CHALMERS SIMPSON
          PO BOX 5533                                                                                         ;;nene preguntas acerca de su polim?
                                                                                                              llame al servicio al consumidor al 1-888-888-0080
          HARRISBURG PA 17110-2424                                                                            Por favor consulte al reverso de este formulario para
                                                                                                              informaci6n acerca de las opciones de pago.




                                                                                 Billing Summary For:

  CHALMERS SIMPSON                                       GOl 0197640 04                      05/13/21                     11/13/21                    05/30/21                         02
         ::.·~              -·-. .-:.:· ·::::.·..:....
                                        .                                                        ··:Aiiioid .·.
                                                                                                                                             SCHEDULE OF PAYMENTS
                                                                                                   -$130.00                              lJIS[81I ·
                                                                                                   -$130.00                              . N~         Dne_Da~ ·
                                                                                                    $694.00
                                                                                                                                           03         07/13/21             $147.27
         ::- :-Detail:· .                                                                                                                  04         08/13/21             $147.27
         Previous Balance
                                                                                                                                           05         09/13/21             $147.27
                                                                                                      $0.00                                06         10/13/21             $147.28
         New Chuges/Credits                                                                         $152.91
         Installment Fee                                                                             $12.00
         Paper Documents Fee                                                                          $0.66




                                                                                                                                         Amount also includes the following fees:
         Amount Due By        06/13/21                                                             $152.91                               Installment, Paper Documents
         Pecha de Vencimiento 06/13/21
         Late payments could result in cancellation of your insurance. Payments will be used to satisfy any balance dne on previous
         policy teems. H the full payment is not Postmarked by the Due Date, a late fee of $10.00 will also apply.


                                                                                                                                   RETORN BOTTOM PORTION WITH YOUR PAYMENT
NT1 (03/15)                                 INSURED                                DETACH ALONG PERFORATION                 Desprenda esta nota en el area perforada y regrEsela con su pago.
r-:·:JNSORE
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              ·•...
                    .                                                             ·.... <"::B-P·:•:•:LOC -MCO "Pto:::•sy::-:-:··::.                        .::-:/POLICY-NUMBER\
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                                                                                                                                                                                 - .    .


  CHAI.MERSSIMPSON                                                                          DV    00      33        00       PA                                      GOl 0197640 04
   POBOX5533
   HARRISBURG PA 17110-2424                                                                                                Payment Due Date: 06/13/21
                                                                                                                       Minimum Amount Due: $152.91
                                                                                                                     Pay your bill onlilre using www.bristolwest.com
           SEND PAYMENT TO:
           1.1,1,1 11 11 •• 1••1•1 1lJ 1 •1 1,i•l''1l11•1•1 111••• 11111•1111 11l1 11 •11
           BRISTOL WEST INSURANCE GROUP
                                                                                                                                  Amount Enclosed: ....              I_____
           PO BOX 371329                                                                                D Change of Address
           PITTSBURGH PA 15250-7329                                                                            See reverse side




                   003300G0l0197b40040200PA 00000015291 0bl321 1 2
1679
